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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------X
TIFFANY TOTH, CARMEN ELECTRA,
GEMMA LEE, JESSA HINTON, BROOKE
TAYLOR, JESSE GOLDEN, LINA POSADA
SHEENA LEE WEBER, HEATHER RAE                                Case No. 15-cv-08028(NRB)
YOUNG, RACHEL KOREN, SABELLA
SHAKE and URSULA MAYES,

                          Plaintiffs,
                   v.

59 MURRAY ENTERPRISES, INC. d/b/a New
York Dolls Gentlemen’s Club, BARRY LIPSITZ,
ANITA MICELI, JAY-JAY CABARET, INC.
d/b/a Flashdancers Gentlemen’s Club, MARSHA
LIPSITZ and AAM HOLDING CORPORATION
d/b/a Private Eyes Gentlemen’s Club,
                           Defendants.
---------------------------------------------------------X
ANITA MICELI, JAY-JAY CABARET, INC.,
59 MURRAY ENTERPRISES, INC., AAM
HOLDING CORPORATION, BARRY LIPSITZ,
and MARSHA LIPSITZ,
                           Third-Party Plaintiffs,

          v.
INTERNET MANAGEMENT CORP. and
MELANGE MEDIA GROUP LLC,

                           Third-Party Defendants.
---------------------------------------------------------X


          DEFENDANTS’ RESPONSE TO PLAINTIFFS’ RULE 56.1 STATEMENT

         Defendants 59 Murray Enterprises, Inc., Barry Lipsitz, AAM Holding Corp., Anita

Miceli, Jay-Jay Cabaret, Inc., and Marsha Lipsitz (collectively, “Defendants”) hereby submit this

response to Plaintiffs’ Rule 56.1 statement of undisputed material facts in support of their motion

for summary judgment.




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Plaintiffs’ Backgrounds and Careers1

        1.         Each Plaintiff is a professional model, actress and/or businesswoman who earns

or has earned a living by promoting her image, likeness and/or identity (collectively, “Image”) to

select clients, commercial brands, and media and entertainment outlets. Toth Decl., ¶¶ 2, 5;

Farrell Decl.,¶¶ 2, 5 ; Hinton Decl., ¶¶ 2, 5; Golden Decl., ¶¶ 2, 5; Posada Decl., ¶ 2, 5; Weber

Decl., ¶¶ 2, 4; Young Decl., ¶¶ 2, 5; Koren Decl., ¶¶ 2, 4; Shake Decl., ¶¶ 2, 5; Mayes Decl., ¶¶

2, 4; Electra Decl., ¶¶ 2, 5.

Response: Admit as to the relevant period.



        2.         Each Plaintiff relies on her professional reputation for modeling, acting, hosting

and other professional opportunities, has worked to establish herself as reliable, reputable, and

professional, and has achieved celebrity status and fame in the modeling industry. Toth Decl., ¶¶

4, 6; Farrell Decl., ¶¶ 4, 6, ; Hinton Decl., ¶¶ 4, 6; Golden Decl., ¶¶ 4, 6; Posada Decl., ¶¶ 4, 6;

Weber Decl., ¶¶ 3, 5; Young Decl., ¶¶ 4, 6; Koren Decl., ¶¶ 3, 5; Shake Decl., ¶¶ 4, 6; Mayes

Decl., ¶¶ 3, 5; Electra Decl., ¶ 4, 6.

Response: Deny. (Koren Tr. 109:12, Mayes Tr. 96:21;. 98:25, Golden Tr. 113:17-113:20; 114:6,

Weber Tr. 111:1-111:2; 111:15-111:16).



        3.         Each Plaintiff seeks to control the use and dissemination of her image, is

consulted on and participates in the negotiation, vetting and selection of modeling, acting, brand

spokesperson or hosting engagements, and each has been vigilant in building and protection her

brand from harm, taint, or other diminution. Toth Decl., ¶¶ 7, 8; Farrell Decl., ¶¶ 7, 8, ; Hinton


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        All documents referenced herein are attached as exhibits to the Declaration of Peter T. Shapiro, Esq.
(“Shapiro Decl.”), submitted contemporaneously herewith, and respectfully incorporated by reference herein.

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Decl., ¶¶ 7, 8; Golden Decl., ¶¶ 7, 8; Posada Decl., ¶¶ 7, 8; Weber Decl., ¶¶ 6, 7; Young Decl.,

¶¶ 7, 8; Koren Decl., ¶ 6, 7; Shake Decl., ¶¶ 7, 8; Mayes Decl., ¶¶ 6, 7; Electra Decl., ¶¶ 7, 8.

Response: Deny. Plaintiffs did not establish that they had “brands” and they were slipshod about

their careers as reflected by their not maintaining complete copies of records concerning photo

shoots, contracts, releases and the like. (Toth Tr. 30:19; 59:14; 61:20, Farrell Tr. 34:19; 57:15;

57:17-57:18, Hinton Tr. 21:16-21:17; 43:7-43:8; 45:21; 48:11; 49:12; 53:25; 84:12-84:15,

Golden Tr. 55:1; 103:7; Posada Tr. 22:11; 32:4-32:5; Weber Tr. 18:18; 18:21; 32:13, Young Tr.

30:2-30:4; 55:17-55:18; 55:23; Koren Tr. 12:16; 23:2; 30:9; 31:24; 33:21; 35:4; 37:23; 54:22;

55:10; 57:2; 57:13; 72:25; 73:1-73:3, Shake Tr. 15:17; 15:19; 15:21; 23:18; 26:3; 27:16; 43:17;

47:13; 52:21; 71:6; Mayes Tr. 20:8; 20:11-20:12; 20:15; 20:23).



        4.         In all instances of commercial marketing and promotion of her image, each

Plaintiff has negotiated and expressly granted authority for such use pursuant to agreed-upon

terms and conditions, and for agreed upon compensation. Toth Decl., ¶ 9; Farrell Decl., ¶ 9;

Hinton Decl., ¶ 9; Golden Decl., ¶ 9; Posada Decl., ¶ 9; Weber Decl., ¶ 8; Young Decl., ¶ 9;

Koren Decl., ¶ 8; Shake Decl., ¶ 9; Mayes Decl., ¶ 8; Electra Decl., ¶ 9.



Response: Deny. Plaintiffs admitted that they customarily executed standard form releases when

engaging in photo shoots for which they are paid, and such releases customarily provide that the

models give up all rights to the use of the images which can be used for any future purpose. To

the extent releases for the Images in question were adduced during discovery, they confirm that

Plaintiffs gave up all rights. (Toth Tr. 61:20, Farrell Tr. 11:20, Shapiro Decl. Exhs. 6, 11, 14, 17,

20); Mayes Tr. 19:13; 94:25; Hinton Tr. 81:11-81:14; Golden Tr. 35:24, Patrick Tr. 12:20; 15:2-



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15:15; 86:25-87:12; 28:15-29:8).



        5.         Defendants did not, at any time, seek or obtain permission or authority to use or

alter any Plaintiff’s image to advertise, promote, market or endorse the Strip Clubs. Toth Decl., ¶

10; Farrell Decl., ¶ 10, ; Hinton Decl., ¶ 10; Golden Decl., ¶ 10; Posada Decl., ¶ 10; Weber

Decl., ¶ 9; Young Decl., ¶ 10; Koren Decl., ¶ 9; Shake Decl., ¶ 10; Mayes Decl., ¶ 9; Electra

Decl., ¶ 10.

Response: Deny. Defendants did not select or post any images of Plaintiffs; all such selection

and posting was done by Defendants’ third party contractors. Defendants understood that the

contractors had the rights to the images posted at the time of the postings such that Defendants

did not know of any need to inquire into or secure any rights for the images utilized by the

contractors. Defendants did not know whose images were posted. (Barry Lipsitz Decl. ¶¶ 6, 10,

12-15 Barry Albert Decl. ¶¶ 3, 10, Brown Aff. ¶¶ 13-15).



        6.         As detailed immediately below, no Plaintiff has ever worked for Defendants in

any capacity, ever agreed to associate with Defendants, ever agreed to participate in Defendants’

advertising campaigns, ever agreed to endorse (and do not endorse or support) Defendants and

their stripper lifestyle generally or the full friction and full nudity lifestyle activities, and never

agreed (and would never agree) to appear at the activities being advertised at Defendants’ strip

clubs, N.Y. Dolls, Flashdancers, and Private Eyes (collectively, the “Strip Clubs”), Toth Decl., ¶

15; Farrell Decl., ¶ 15; Hinton Decl., ¶ 15; Golden Decl., ¶ 15; Posada Decl., ¶ 15; Weber

Decl., ¶ 14; Young Decl., ¶ 15; Koren Decl., ¶ 14; Shake Decl., ¶ 15; Mayes Decl., ¶ 14;




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Electra Decl., ¶ 16.        See also, JVG Decl., Exhibit M, Transcript of September 28, 2017

Deposition of Barry Lipsitz, Jr. (“Lipsitz Jr. Tr.”) at 109:16-20.

Response: Deny in part. Plaintiffs Young and Weber have worked at gentlemen’s clubs. (Young

Tr. 11021; 110:25, Weber Tr. 106:23). All Plaintiffs have posed nude, semi-nude, or scantily-

clothed. (See Toth Tr. Exhs. 2-16, Farrell Tr. Exhs. 2-7, Young Tr. Exhs. 2-8, Koren Tr. Exhs.

2-9, Shake Tr. Exhs. 2-8, Mayes Tr. Exhs. 2-6, Hinton Tr. Exhs., Golden Tr. Exhs. 2-7, Posada

Tr. Exhs. 2-5, Weber Tr. Exhs. 2-11). Plaintiff Electra has been paid to endorse products relating

to sexual performance, has appeared in advertising for gentlemen’s clubs, has made public

appearances at gentlemen’s club and had her own line of stripper poles. (Patrick Tr. 39-40,

Patrick Tr. 43:16; 43:21-44:9, Patrick Tr. Exh. 17). Admit that Plaintiffs did not agree to

perform, and did not perform, services for Defendants and that they were never asked expressly

to assent to the use of their images on Defendants’ websites.



        7.         No Plaintiff was ever offered, or paid, any compensation by Defendants for the

use of her Image to advertise, promote, market, or endorse Defendants’ Strip Clubs. Toth Decl.,

¶ 16; Farrell Decl., ¶ 16; Hinton Decl., ¶ 16; Golden Decl., ¶ 16; Posada Decl., ¶ 16; Weber

Decl., ¶ 15; Young Decl., ¶ 16; Koren Decl., ¶ 15; Shake Decl., ¶ 16; Mayes Decl., ¶ 15;

Electra Decl., ¶ 17.

Response: Admit.



        8.         Despite this, and as set forth in Exhibits A through O of the Second Amended

Complaint (“SAC”), Defendants used one or more images of each Plaintiff to advertise and




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promote the Strip Clubs’ commercial activities. See JVG Decl., Exhibit A, SAC and Exhibits A-

O thereto.

Response: Deny. The images were posted and used by Defendants’ third party contractors who

were responsible for the websites and social media postings. (Barry Lipsitz Decl. ¶¶ 6, 10, 12-15

Barry Albert Decl. ¶¶ 3, 10, Brown Aff. ¶¶ 13-15).



Defendants’ Misuse of Plaintiffs’ Images

         9.        Toth is a professional model who was the September 2011 Playboy Playmate of

the Month.         She has appeared in a variety of magazines including Super Street Bike, Import

Tuner, Sport Truck, Iron Man, Seventeen, and Maxim, as well countless other catalogs and

publications. In addition to her modeling work, Toth also owns and maintains her own e-

commerce site. Toth currently has almost 4,000,000 Facebook followers, 1,100,000 Instagram

followers, and over 200,000 Twitter followers. Toth Decl., ¶¶ 2-3.

Response: Admit.



         10.       Without Toth’s permission, Defendants used and altered her images, as reflected

in Exhibit A of the SAC, to advertise and promote the stripper lifestyle generally or the full

friction and full nudity lifestyle on the Defendants’ premises, and to represent, suggest or imply

that she worked for or is somehow affiliated with Defendants, agreed to participate in the

advertising campaigns, endorsed 59 Murray Enterprises, Inc. (“59 Murray”), AAM Holding

Corporation (“AAM Holding”), and Jay-Jay Cabaret, Inc. (“Jay-Jay Cabaret”) (collectively, the

“Corporate Defendants”), and/or the Strip Clubs, and Defendants’ full friction and full nudity

lifestyle activities, that she personally participated in the stripper lifestyle generally or the full



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friction and full nudity lifestyle activities, and/or that she may appear at the Strip Clubs. Toth

Decl., ¶ 13.

Response: Deny.         Defendants did not use or alter the image of any plaintiff; third party

defendants were responsible for selecting and posting the images at issue and for securing the

rights to do so. Defendants did not make any statements about any Plaintiff. None of the

Plaintiffs was identified by name in any ad for Defendants. (Barry Lipsitz Decl. ¶¶ 6, 10, 12-15

Barry Albert Decl. ¶¶ 3, 10, Brown Aff. ¶¶ 13-15).



         11.       All such representations, suggestions or implications are false. Toth Decl., ¶ 13.

Response. Object to the extent the statement of fact is unclear and argumentative as to what is

implied, suggested or represented, Deny in part. Defendants did not author the content quoted;

IMC wrote the content posted on the Defendants’ websites. Plaintiffs are not identified by name.

(Barry Lipsitz Decl. ¶¶ 6, 13, 14, 10, 12, 15 Barry Albert Decl. ¶¶ 3, 10, Brown Aff. ¶¶ 13-15).



         12.       The image and likeness of Toth as depicted in the photograph that appears in

pages 2 and 4 of Exhibit A of the SAC was originally shot for Mystery House Costumes

sometime between 2012 and 2014. Toth Decl., ¶ 14.

Response: Admit.



         13.       The image and likeness of Toth as depicted in the photograph that appears in

pages 3, and 6 through 8, of Exhibit A of the SAC was originally shot as a “Micro Bikini”

advertisement for Roma Costumes sometime between 2008 and 2011. Toth Decl., ¶ 14. Beside




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this Image, Defendants wrote: “Who needs to leave anything to the imagination when the reality

is even better?” SAC, Ex. A.

Response. Deny in part. Defendants did not author the content quoted; IMC wrote the content

posted on the Defendants’ websites. (Barry Lipsitz Decl. ¶¶ 6, 13, 14, 10, 12, 15 Barry Albert

Decl. ¶¶ 3, 10, Brown Aff. ¶¶ 13-15).



         14.       Both Mystery House Costumes and Roma Costumes had limited permission and

authorization to use Toth’s image and likeness, and under no circumstances did they have

authorization to use her image and likeness other than for the agreed-upon purpose. Toth Decl., ¶

14.

Response: Deny. Plaintiffs did not produce the contracts or other documents with the referenced

entities to substantiate the self-serving testimony about the supposed terms of the authorization

for use. The terms as described conflict with the standard contractual release language in the

industry. (Shapiro Decl. Exhs. 6, 11, 14, 17, 20).



         15.       Farrell is a professional model, actress and the November 2013 Playboy Playmate

of the Month (the first model from New Zealand to be so appointed.) She has been modeling

since she was 17 years of age and her modeling credits include Australian men’s magazine Ralph

Magazine, Guitar World, Sports Illustrated, and many others.         Farrell was crowned the first

Miss Monster Energy Cup spokesmodel, and was named the face of the Playboy Club. She has

also been a reality television star in New Zealand, a client of Wilhelmina modeling agency, and a

Healthy Brand lifestyle ambassador for Protein World and Skinny Bunny Teas. Farrell currently




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has over 1,100,000 Instagram followers and over 1,300,000 Facebook followers. Farrell Decl.,

¶¶ 2-3.

Response: Admit.



          16.      Without Farrell’s permission, Defendants used and altered her image, as reflected

in Exhibit B and C of the SAC, to advertise and promote the stripper lifestyle generally or the

full friction and full nudity lifestyle on the Defendants’ premises, and to represent, suggest or

imply that she works for or is somehow affiliated with Defendants, agreed to participate in the

advertising campaigns, endorsed the Corporate Defendants and/or the Strip Clubs, and

Defendants’ full friction and full nudity lifestyle activities, that she personally participated in the

stripper lifestyle generally or the full friction and full nudity lifestyle activities, and/or that she

may appear at the Strip Clubs. Farrell Decl., ¶ 13.

Response. Deny. Defendants did not use or alter the image of any plaintiff; third party

defendants were responsible for selecting and posting the images at issue and for securing the

rights to do so. Defendants did not make any statements about any Plaintiff. None of the

Plaintiffs was identified by name in any ad for Defendants. (Barry Lipsitz Decl. ¶¶ 6, 10, 12-15

Barry Albert Decl. ¶¶ 3, 10, Brown Aff. ¶¶ 13-15).



          17.      All such representations, suggestions or implications are false. Farrell Decl., ¶ 13.

Response. Object to the extent the statement of fact is unclear and argumentative as to what is

implied, suggested or represented, Deny in part. Defendants did not author the content quoted;

IMC wrote the content posted on the Defendants’ websites. Plaintiffs are not identified by name.

(Barry Lipsitz Decl. ¶¶ 6, 13, 14, 10, 12, 15 Barry Albert Decl. ¶¶ 3, 10, Brown Aff. ¶¶ 13-15).



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         18.       The Images of Farrell appear in Exhibit B and C of the SAC each appear on the

“Employment Opportunities” sub-page of both the New York Dolls and Flashdancers websites,

beside the Defendant-generated copy: “Would you like to work in New York City’s most

popular, established gentleman’s club?” See SAC, Ex. B and C.

Response: Admit except deny that Defendants generated the copy. (Barry Lipsitz Decl. ¶¶ 3, 4;

Brown Tr. 8:4, Brown Aff. ¶ 3).



         19.       Farrell’s image and likeness as depicted in the photograph that appears in Exhibit

B and C to the SAC was originally shot for Dreamgirl, a lingerie company, between 2011 and

2013. Dreamgirl had limited permission and authorization to use Farrell’s image and likeness,

and under no circumstances did they have authorization to use her image and likeness other than

for the agreed-upon purpose. Farrell Decl., ¶ 14.

Response: Deny.         Farrell released any and all rights to the images at issue, and granted

Dreamgirl the exclusive and absolute right and permission to throughout the world, to purchase,

own, assign, license, transfer, sell, distribute, copyright, use, reuse, publish, republish, exhibit,

display, produce and reproduce, print and reprint, or to authorize others to do any of the

foregoing, in any and all media now existing or hereafter developed, and in any and all forms or

formats of distribution, still or moving pictures of me, or artwork depicting me, in whole or in

part, whenever created . . . .” (Shapiro Decl. Exh. 6 (Farrell Notice to Admit Exhs. A, B, C, D, E,

F, G, H, I, J, K, L, M, N, O, P, Q, R))




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         20.       Young is a professional swimsuit, glamour and lingerie model, who was also

named the February 2010 Playboy Playmate of the Month. Young has served as a spokesmodel

for brands such as Captain Morgan, Smirnoff, Baileys, and Jose Cuervo, appeared in the 2010

Import Turner calendar, the 2011 Fast Dates calendar, was featured in an advertising campaign

for the Affliction Clothing Line, and has modeled for such clients as Calao Swimwear, DSO

Eyewear, Carrie Amber lingerie, Hustler Lingerie, Superstar Swimwear, and 7 Til Midnight

Lingerie. Young has also made various television appearances, and currently has 427,000

Instagram followers and over 122,000 Twitter followers. Young Decl., ¶¶ 2-3.

Response: Admit.



         21.       Without Young’s permission, Defendants used and altered her image, as reflected

in Exhibit D of the SAC, to advertise and promote the stripper lifestyle generally or the full

friction and full nudity lifestyle on the Defendants’ premises, and to represent, suggest or imply

that she works for or was somehow affiliated with Defendants, agreed to participate in the

advertising campaigns, endorsed the Corporate Defendants and/or the Strip Clubs, and

Defendants’ full friction and full nudity lifestyle activities, that she personally participated in the

stripper lifestyle generally or the full friction and full nudity lifestyle activities, and/or that she

may appear at the Strip Clubs. Young Decl., ¶ 13.

Response. Deny. Defendants did not use or alter the image of any plaintiff; third party

defendants were responsible for selecting and posting the images at issue and for securing the

rights to do so. Defendants did not make any statements about any Plaintiff. None of the

Plaintiffs was identified by name in any ad for Defendants. (Barry Lipsitz Decl. ¶¶ 6, 10, 12-15

Barry Albert Decl. ¶¶ 3, 10, Brown Aff. ¶¶ 13-15)



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         22.       All such representations, suggestions or implications are false. Young Decl., ¶ 13.

Response. Object to the extent the statement of fact is unclear and argumentative as to what is

implied, suggested or represented, Deny in part. Defendants did not author the content quoted;

IMC wrote the content posted on the Defendants’ websites. Plaintiffs are not identified by name.

(Brown Tr. 39:24-40:1, Barry Lipsitz Decl. ¶¶ 6, 13, 14, 10, 12, 15 Barry Albert Decl. ¶¶ 3, 10,

Brown Aff. ¶¶ 13-15)



         23.       The Image of Young was used by Defendants on a New York Dolls 2014 Super

Bowl Week advertisement published on both the New York Dolls website, and the New York

Dolls Facebook page. This is an image of Young in a football jersey, above the Defendant-

generated copy: “come party with us all Super Bowl Week… Over 100 Entertainers Daily… Get

ready for the big game with our gorgeous entertainers in their favorite football jerseys… We

look forward to partying with you.” See SAC Exhibit D.

Response: Admit except deny that Defendants used the images or generated the copy posted by

IMC on Defendants’ websites. (Barry Lipsitz Decl. ¶¶ 3, 4, 12; Barry Albert Decl. ¶¶ 8, 10;

Brown Tr. 8:4; Brown Aff. ¶ 3)



         24.       Koren is a professional model who has walked runways for fashion shows,

filmed for the travel TV show Bikini Destinations and shot for major campaigns in Los Angeles,

California. She has also appeared in films such as Date Night, The Closer, and many others. She

has likewise appeared in a variety of magazines including Modern Solo Magazine, Cut & Dry

Magazine, Esquire Magazine, Vogue Magazine, Rebel X Magazine, Viva Glam Magazine, and



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Maxim, to name a few, as well countless other catalogs and publications. Koren has also

appeared in campaigns for brands such as Nike, Reebok, Axe Body Spray, True Religion, Jessica

Simpson Swimwear, Ed Hardy, Tommy Bahama, Fantasy Lingerie, So Cal Swimwear, American

Honey and many more. In addition to her modeling work, Koren also owns her own company,

Cashmere Hair Extensions. Koren Decl., ¶ 2.

Response: Admit.



         25.       Without Koren’s permission, Defendants used and altered her images, as reflected

in Exhibit E of the SAC, to advertise and promote the stripper lifestyle generally or the full

friction and full nudity lifestyle on the Defendants’ premises, and to represent, suggest or imply

that she works for or is somehow affiliated with Defendants, agreed to participate in the

advertising campaigns, endorsed Corporate Defendants and/or the Strip Clubs, and Defendants’

full friction and full nudity lifestyle activities, that she personally participated in the stripper

lifestyle generally or the full friction and full nudity lifestyle activities, and/or that she may

appear at the Strip Clubs. Koren Decl., ¶ 12.

Response. Deny. Defendants did not use or alter the image of any plaintiff; third party

defendants were responsible for selecting and posting the images at issue and for securing the

rights to do so. Defendants did not make any statements about any Plaintiff. None of the

Plaintiffs was identified by name in any ad for Defendants. (Barry Lipsitz Decl. ¶¶ 6, 10, 12-15

Barry Albert Decl. ¶¶ 3, 10, Brown Aff. ¶¶ 13-15)



         26.       All such representations, suggestions or implications are false. Koren Decl., ¶ 12.




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Response. Object to the extent the statement of fact is unclear and argumentative as to what is

implied, suggested or represented, Deny in part. Defendants did not author the content quoted;

IMC wrote the content posted on the Defendants’ websites. Plaintiffs are not identified by name.

(Barry Lipsitz Decl. ¶¶ 6, 13, 14, 10, 12, 15 Barry Albert Decl. ¶¶ 3, 10, Brown Aff. ¶¶ 13-15).



         27.       Koren’s image and likeness as depicted in the photograph that appears in Exhibit

E of the SAC was originally shot for Fastdates.com in or around 2009. Fastdates.com had

limited permission and authorization to use her image and likeness, and under no circumstances

did they have authorization to use her image and likeness other than for the agreed-upon purpose.

Koren Decl., ¶ 13.

Response: Disagree. Koren released any and all rights to the images at issue to Gianatsis Design

Associate or Jim Gianatsis for any purpose whatsoever, irrevocably. (See Shapiro Decl. Exh. 11

(Koren Notice to Admit Exh. A)).



         28.       Shake is a professional model who has modeled for brands such as Chica Rica,

Cool Material, and Creative Recreations.        She has appeared in Esquire Magazine, and is the

current campaign model for Affliction Clothing. As an actress, Shake has also appeared in

national commercials for companies such as Party City, and in films, including Shoot ‘Em Up,

Apostles, and Date Night. She has over 100,000 Instagram followers. Shake Decl., ¶¶ 2-3.

Response: Admit.



         29.       Without Shake’s permission, Defendants used and altered her images, as reflected

in Exhibit F of the SAC, to advertise and promote stripper lifestyle generally or the full friction



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and full nudity lifestyle on the Defendants’ premises, and to represent, suggest or imply that she

worked for or is somehow affiliated with Defendants, agreed to participate in the advertising

campaigns, endorsed the Corporate Defendants and/or the Strip Clubs, and Defendants’ full

friction and full nudity lifestyle activities, that she personally participated in the stripper lifestyle

generally or the full friction and full nudity lifestyle activities, and/or that she may appear at the

Strip Clubs. Shake Decl., ¶ 13.

Response. Deny. Defendants did not use or alter the image of any plaintiff; third party

defendants were responsible for selecting and posting the images at issue and for securing the

rights to do so. Defendants did not make any statements about any Plaintiff. None of the

Plaintiffs was identified by name in any ad for Defendants. (Barry Lipsitz Decl. ¶¶ 6, 10, 12-15

Barry Albert Decl. ¶¶ 3, 10, Brown Aff. ¶¶ 13-15).



         30.       All such representations, suggestions or implications are false. Shake Decl., ¶ 13.

Response. Object to the extent the statement of fact is unclear and argumentative as to what is

implied, suggested or represented, Deny in part. Defendants did not author the content quoted;

IMC wrote the content posted on the Defendants’ websites. Plaintiffs are not identified by name.

(Barry Lipsitz Decl. ¶¶ 6, 13, 14, 10, 12, 15 Barry Albert Decl. ¶¶ 3, 10, Brown Aff. ¶¶ 13-15).



         31.       Shake’s image and likeness as depicted in the photograph that appears in Exhibit

F of the SAC was originally shot for Fastdates.com on or about 2009. Fastdates.com had limited

permission and authorization to use Shake’s image and likeness and under no circumstances did

they have authorization to use her image and likeness other than for the agreed-upon purpose.

Shake Decl., ¶ 14.



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Response: Disagree. Shake released any and all rights to the images at issue to Gianatsis Design

Associate or Jim Gianatsis. (Shapiro Decl. Exh. 14 (Shake Notice to Admit Exh. A))



         32.       Mayes is a professional model who has appeared in magazines such as Maxim,

Vogue, Elle, In Style, Cosmopolitan, Marie Claire, and many other publications.            Mayes has

also appeared on television shows such as Deal or No Deal, Minute to Win It, The Tonight Show,

and The Jay Leno Show, and appeared in commercial campaigns for many companies, including

Coronet Diamonds, Volkswagen, Subaru, and Bacardi. Mayes was also the cover model and star

of the video game, Juiced 2: Hot Import Nights. Mayes Decl., ¶ 2.

Response: Admit.



         33.       Without Mayes’ permission, Defendants used and altered her image, as reflected

in Exhibit G of the SAC, to advertise and promote the stripper lifestyle generally or the full

friction and full nudity lifestyle on the Defendants’ premises, and to represent, suggest or imply

that she works for or is somehow affiliated with Defendants, agreed to participate in the

advertising campaigns, endorsed the Corporate Defendants and/or the Strip Clubs, and

Defendants’ full friction and full nudity lifestyle activities, that Mayes personally participated in

the stripper lifestyle generally or the full friction and full nudity lifestyle activities, and/or that

she may appear at the Strip Clubs. Mayes Decl., ¶ 12.

Response. Deny. Defendants did not use or alter the image of any plaintiff; third party

defendants were responsible for selecting and posting the images at issue and for securing the

rights to do so. Defendants did not make any statements about any Plaintiff. None of the




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Plaintiffs was identified by name in any ad for Defendants. (Brown Tr. 39:24-40:1, Barry

Lipsitz Decl. ¶¶ 6, 10, 12-15 Barry Albert Decl. ¶¶ 3, 10, Brown Aff. ¶¶ 13-15)



         34.       All such representations, suggestions or implications are false. Mayes Decl., ¶ 12.

Response. Object to the extent the statement of fact is unclear and argumentative as to what is

implied, suggested or represented, Deny in part. Defendants did not author the content quoted;

IMC wrote the content posted on the Defendants’ websites. Plaintiffs are not identified by name.

(Barry Brown Tr. 39:24-40:1, Barry Lipsitz Decl. ¶¶ 6, 13, 14, 10, 12, 15 Barry Albert Decl. ¶¶

3, 10, Brown Aff. ¶¶ 13-15)



         35.       Mayes’ image and likeness as depicted in the photograph that appears in Exhibit

G of the SAC was originally shot for Dreamgirl sometime between 2005 and 2007. Dreamgirl

had limited permission and authorization to use Mayes’ image and likeness and under no

circumstances did they have authorization to use her image and likeness other than for the

agreed-upon purpose. Mayes Decl., ¶ 13.

Response: Deny.         Mayes released any and all rights to the images at issue, and granted

Dreamgirl the exclusive and absolute right and permission to throughout the world, to purchase,

own, assign, license, transfer, sell, distribute, copyright, use, reuse, publish, republish, exhibit,

display, produce and reproduce, print and reprint, or to authorize others to do any of the

foregoing, in any and all media now existing or hereafter developed, and in any and all forms or

formats of distribution, still or moving pictures of me, or artwork depicting me, in whole or in

part, whenever created . . . .” (Shapiro Decl. Exh. 17 (Mayes Notice to Admit Exhs. A, C, D, E,

H, I, J)).



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         36.       Hinton is a professional model, actress and was the July 2011 Playboy Playmate

of the Month. She has been active in the entertainment industry since the age of 16, and

appeared in countless national commercial and television shows. In 2010, Hinton became the

face of the Palms Hotel & Casino’s advertising campaign. She has hosted the television show

Victory Poker, has served as the interview personality for Top Rank Boxing, and became the

centerpiece of an advertising campaign for Milwaukee’s Best Beer in conjunction with Playboy

Enterprises. Hinton has also served as a spokes model for Affliction Clothing, Enzo, Milano

Hair Products, REVIV Wellness Spa, Protein World, Rhonda Shear Shapewear, Leg Avenue and

Roma Costume, and has been a featured cover model for magazines such as FHM, Kandy, MMA

Sports, Guitar World, and Muscle & Fitness. Hinton’s images have likewise appeared on

countless billboards, magazines, posters, and multiple forms of electronic media. In addition,

Hinton has been named Creative Director for MAJR Media, and also served as a guest host for

the television station KTLA in Los Angeles, California. Hinton has also earned an elite status as

a social media celebrity, with more than 1,200,000 followers on Instagram, almost 3,000,000

followers on Facebook, and over 241,700 followers on Twitter. Hinton Decl., ¶ 2-3.

Response: Admit.



         37.       Without Hinton’s permission, Defendants used and altered her images, as

reflected in Exhibit H and I of the SAC, to advertise and promote stripper lifestyle generally or

the full friction and full nudity lifestyle on the Defendants’ premises, and to represent, suggest or

imply that Hinton works for or is somehow affiliated with Defendants, agreed to participate in

the advertising campaigns, endorsed the Corporate Defendants and/or the Strip Clubs, and



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Defendants’ full friction and full nudity lifestyle activities, that I personally participated in the

stripper lifestyle generally or the full friction and full nudity lifestyle activities, and/or that she

may appear at the Strip Clubs. Hinton Decl., ¶ 13.

Response. Deny. Defendants did not use or alter the image of any plaintiff; third party

defendants were responsible for selecting and posting the images at issue and for securing the

rights to do so. Defendants did not make any statements about any Plaintiff. None of the

Plaintiffs was identified by name in any ad for Defendants. (Brown Tr. 39:24-40:1, Barry

Lipsitz Decl. ¶¶ 6, 10, 12-15 Barry Albert Decl. ¶¶ 3, 10, Brown Aff. ¶¶ 13-15).



         38.       All such representations, suggestions or implications are false. Hinton Decl., ¶

13.

Response. Object to the extent the statement of fact is unclear and argumentative as to what is

implied, suggested or represented, Deny in part. Defendants did not author the content quoted;

IMC wrote the content posted on the Defendants’ websites. Plaintiffs are not identified by name.

(Brown Tr. 39:24-40:1, Barry Lipsitz Decl. ¶¶ 6, 13, 14, 10, 12, 15 Barry Albert Decl. ¶¶ 3, 10,

Brown Aff. ¶¶ 13-15).



         39.       Hinton’s image and likeness as depicted in the photographs that appear in both

Exhibit H and I of the SAC were originally shot for Forplay, a costume and lingerie company,

sometime between 2012 and 2014. Forplay had limited permission and authorization to use

Hinton’s image and likeness and under no circumstances did they have authorization to use her

image and likeness other than for the agreed-upon purpose. Hinton Decl., ¶ 14.




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Response: Deny. Hinton released any and all rights to the images to Forplay and gave them the

unrestricted right and permission to copyright and/or exploit in any way, including but not

limited to the right and permission to use, re-use, license, sublicense, sell, and resell, publish, and

republish the Images of me or in which I am be included intact or in part, cropped, altered or

modified, composite or distorted in character or form, without restriction as to the changes or

transformations in conjunction with my own or fictitious name or likeness, or reproduction

thereof in color or otherwise, made through any and all media now or hereafter known for

illustration, art, promotion, sale, advertising, trade, or any other purpose whatsoever. (See

Shapiro Decl. Exh. 20 (Hinton Notice to Admit Exh. D))



         40.       The Images of Hinton at Exhibits H of the SAC were prominently featured as the

homepage banner of the Flashdancers website located at www.flashdancersnyc.com, and also

appeared on the Flashdancers Instagram page; they depict Hinton wearing a blue dress below the

Defendant-generated copy: “Get in the blue and you’ll know what’s the #best in #NYC”. See

SAC, Ex. H.

Response: Admit except as to the use of the subjective statement that the images were featured

prominently.



         41.       The Images of Hinton at Exhibit I of the SAC were featured on the Private Eyes’

social media pages beside the Defendant-generated copy: “#Welcome to #PrivateEyesClub,

#whatever type of #girls you’re looking for, we’ve got it for you!” See SAC, Ex. I.

Response: Admit except deny that Defendants generated the copy. (Barry Lipsitz Decl. ¶¶ 3, 4;

Brown Tr. 8:4, Brown Aff. ¶ 3)



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         42.       Golden is a professional model, actress and businesswoman who has appeared in

modeling campaigns for a variety of high profile clients, including Abercrombie & Fitch,

Victoria’s Secret, Lucy Sport, Coca-Cola, GAP, and Nike, and on the covers of numerous

magazines, including the New York Times, Fitness, Newport Beach Magazine, Yoga

International, and many others. Golden has also appeared in dozens of commercials, television

and film projects, and in addition maintains her own website, www.jessegolden.com, where she

aims to empower people through the sharing of my “Golden Secrets” concerning health, wellness

and yoga. Golden also writes for a variety of other magazines and website, and has her own

fitness and yoga brand and products which can be found on www.thegoldensecretsoil.com.

These expanding business interests are in addition to Golden’s continued work as a model for

many notable fashion brands.          Golden currently has almost 200,000 Instagram followers.

Golden Decl., ¶¶ 2-3.

Response: Admit.



         43.       Without Golden’s permission, Defendants used and altered her image, as reflected

in Exhibit L of the SAC, to advertise and promote the stripper lifestyle generally, or the full

friction and full nudity lifestyle on the Defendants’ premises, and to represent, suggest or imply

that she works for or is somehow affiliated with Defendants, agreed to participate in the

advertising campaigns, endorsed the Corporate Defendants and/or the Strip Clubs, and

Defendants’ full friction and full nudity lifestyle activities, that she personally participated in the

stripper lifestyle generally or the full friction and full nudity lifestyle activities, and/or that she

may appear at the Strip Clubs. Golden Decl., ¶ 13.



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Response. Deny. Defendants did not use or alter the image of any plaintiff; third party

defendants were responsible for selecting and posting the images at issue and for securing the

rights to do so. Defendants did not make any statements about any Plaintiff. None of the

Plaintiffs was identified by name in any ad for Defendants. (Brown Tr. 39:24-40:1, Barry

Lipsitz Decl. ¶¶ 6, 10, 12-15 Barry Albert Decl. ¶¶ 3, 10, Brown Aff. ¶¶ 13-15)



         44.       All such representations, suggestions or implications are false. Golden Decl., ¶

13.

Response. Object to the extent the statement of fact is unclear and argumentative as to what is

implied, suggested or represented, Deny in part. Defendants did not author the content quoted;

IMC wrote the content posted on the Defendants’ websites. Plaintiffs are not identified by name.

(Barry Brown Tr. 39:24-40:1, Barry Lipsitz Decl. ¶¶ 6, 13, 14, 10, 12, 15 Barry Albert Decl. ¶¶

3, 10, Brown Aff. ¶¶ 13-15)



         45.       Golden’s image and likeness as depicted in the photograph that appears in Exhibit

L to the SAC was originally shot for Leg Avenue sometime between 2008 and 2012. Leg

Avenue had limited permission and authorization to use Golden’s image and likeness and under

no circumstances did they have authorization to use her image and likeness other than for the

agreed-upon purpose. Golden Decl., ¶ 14.

Response: Deny. Plaintiffs did not produce the contracts or other documents with the referenced

entities to substantiate the self-serving testimony about the supposed terms of the authorization

for use. The terms as described conflict with the standard contractual release language in the

industry. (Shapiro Decl. Exhs. 6, 11, 14, 17, 20)



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         46.       Images of Golden appear at Exhibit L of the SAC, and include a Private Eyes

Halloween party flyer depicting Golden in a Halloween costume beside the Defendant-generated

copy “100 Entertainers in Costume,” and “Join us for our annual Halloween Party on Friday

October 25th.” See SAC, Ex. L.

Response: Admit, except deny that Defendants generated the copy. (Barry Lipsitz Decl. ¶¶ 3, 4;

Brown Tr. 8:4, Brown Aff. ¶ 3)



         47.       Posada is a fashion model and a fashion designer, who is best known for her

appearances in the Bésame and Espiral lingerie collection photo shoots.             Posada has also

modeled for Paradizia Swimwear, Babalú Swimwear, Irgus Swimwear, Ujeans, as well as many

others. In addition, she has appeared as the main model in a number of music videos such as

“Taboo” by Don Omar, which received almost 340,000,000 views on YouTube, and “Obsession”

by Maluma, which received almost 182,000,000 views on YouTube. Posada Decl., ¶2.

Response: Admit.



         48.       Without Posada’s permission, Defendants used and altered her image, as reflected

in Exhibit M of the SAC, to advertise and promote the stripper lifestyle generally or the full

friction and full nudity lifestyle on the Defendants’ premises, and to represent, suggest or imply

that she works for or is somehow affiliated with Defendants, agreed to participate in the

advertising campaigns, endorsed the Corporate Defendants and/or the Strip Clubs, and

Defendants’ full friction and full nudity lifestyle activities, that she personally participated in the

stripper lifestyle generally or the full friction and full nudity lifestyle activities, and/or that she



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may appear at full friction and full nudity lifestyle activities at the Strip Clubs. Posada Decl., ¶

13.

Response. Deny. Defendants did not use or alter the image of any plaintiff; third party

defendants were responsible for selecting and posting the images at issue and for securing the

rights to do so. Defendants did not make any statements about any Plaintiff. None of the

Plaintiffs was identified by name in any ad for Defendants. (Brown Tr. 39:24-40:1, Barry

Lipsitz Decl. ¶¶ 6, 10, 12-15 Barry Albert Decl. ¶¶ 3, 10, Brown Aff. ¶¶ 13-15)



         49.       All such representations, suggestions or implications are false. Posada Decl., ¶

13.

Response. Object to the extent the statement of fact is unclear and argumentative as to what is

implied, suggested or represented, Deny in part. Defendants did not author the content quoted;

IMC wrote the content posted on the Defendants’ websites. Plaintiffs are not identified by name.

(Brown Tr. 39:24-40:1, Barry Lipsitz Decl. ¶¶ 6, 13, 14, 10, 12, 15 Barry Albert Decl. ¶¶ 3, 10,

Brown Aff. ¶¶ 13-15)



         50.       Posada’s image and likeness as depicted in the photograph that appears on pages

45 through 46, and 48 through 50 of Exhibit M of the SAC was originally shot for Bésame.

Posada’s image and likeness as depicted in the photograph that appears on page 47 of Exhibit M

to the SAC was originally shot for Espiral between 2010 through 2012. Both Bésame and Espiral

had limited permission and authorization to use Posada’s image and likeness, and under no

circumstances did they have authorization to use her image and likeness other than for the

agreed-upon purpose. Posada Decl., ¶ 14.



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Response: Deny. Plaintiffs did not produce the contracts or other documents with the referenced

entities to substantiate the self-serving testimony about the supposed terms of the authorization

for use. The terms as described conflict with the standard contractual release language in the

industry. (Shapiro Decl. Exhs. 6, 11, 14, 17, 20).



         51.       The Image at Exhibit M of the SAC was published on the Private Eyes website,

the Private Eyes Instagram page, and the Private Eyes Facebook page, and the Flashdancers

Instagram page, and the Defendant-generated copy beside the Flashdancers Instagram

advertisement reads: “Ask me for a dance,” while the Defendant-generated copy beside the

Private Eyes Facebook and Instagram advertisements reads: “Private eyes, just for you.” See

SAC, Ex. M.

Response: Admit except deny that Defendants generated the copy. (Barry Lipsitz Decl. ¶¶ 3, 4;

Brown Tr. 8:4, Brown Aff. ¶ 3)



         52.       Weber is a professional and internationally known model, who is likewise an

honors graduate from the Art Institute of Dallas, and who currently serve as the Director of

Business development for Harmony Medcare. Weber was a Playboy Cybergirl of the Month,

and has also appeared in magazine editions of Maxim, People, and Street Customs Magazines.

She has also appeared on the television show The Reality of Speed, and likewise served as the

SSI spokesmodel “Silspect Shari”. Her acting credits include Harold and Kumar 2 and The Pool

Boys, among others. Weber Decl., ¶ 2.

Response: Admit.




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         53.       Without Weber’s permission, Defendants used and altered her images, as

reflected in Exhibit N of the SAC, to advertise and promote the stripper lifestyle generally or the

full friction and full nudity lifestyle on the Defendants’ premises, and to represent, suggest or

imply that she works for or is somehow affiliated with Defendants, agreed to participate in the

advertising campaigns, endorsed the Corporate Defendants, and/or the Strip Clubs, and

Defendants’ full friction and full nudity lifestyle activities, that she personally participated in the

stripper lifestyle generally or the full friction and full nudity lifestyle activities, and/or that she

may appear at the Strip Clubs. Weber Decl., ¶ 12.

Response. Deny. Defendants did not use or alter the image of any plaintiff; third party

defendants were responsible for selecting and posting the images at issue and for securing the

rights to do so. Defendants did not make any statements about any Plaintiff. None of the

Plaintiffs was identified by name in any ad for Defendants. (Brown Tr. 39:24-40:1, Barry

Lipsitz Decl. ¶¶ 6, 10, 12-15 Barry Albert Decl. ¶¶ 3, 10, Brown Aff. ¶¶ 13-15)



         54.       All such representations, suggestions or implications are false. Weber Decl., ¶ 12.

Response. Object to the extent the statement of fact is unclear and argumentative as to what is

implied, suggested or represented, Deny in part. Defendants did not author the content quoted;

IMC wrote the content posted on the Defendants’ websites. Plaintiffs are not identified by name.

(Brown Tr. 39:24-40:1, Barry Lipsitz Decl. ¶¶ 6, 13, 14, 10, 12, 15 Barry Albert Decl. ¶¶ 3, 10,

Brown Aff. ¶¶ 13-15).



         55.       Weber’s image and likeness as depicted in the photograph that appears in Exhibit

N of the SAC was originally shot for her own website in or around 2005 by the photographer



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Johnny Crosslin. Mr. Crosslin had limited permission and authorization to use Weber’s image

and likeness and under no circumstances did he have authorization to use her image and likeness

other than for the agreed-upon purpose. Weber Decl., ¶ 13.

Response: Deny. Plaintiffs did not produce the contracts or other documents with the referenced

entities to substantiate the self-serving testimony about the supposed terms of the authorization

for use. The terms as described conflict with the standard contractual release language in the

industry. (Shapiro Decl. Exhs. 6, 11, 14, 17, 20)



         56.         The Images of Weber found at Exhibit N to the SAC appeared on the Private Eyes

Facebook and Instagram page, beside the Defendant-generated copy: “Lingerie that looks so

good it’s almost a shame she has to take it off (Almost).” See SAC, Ex. N.

Response: Admit except deny that Defendants generated the copy. (Barry Lipsitz Decl. ¶¶ 3, 4;

Brown Tr. 8:4, Brown Aff. ¶ 3)



         57.         Electra is a professional model, actress, recording artist and entrepreneur, whose

first self-titled album was produced by Prince on his Paisley Park record label. Electra started

acting in regular roles on Baywatch and MTV's Singled Out, and then began acting in films with

starring roles in hits such as Scary Movie, Dirty Love, Cheaper by the Dozen 2, and Meet the

Spartans.          Electra won the role as the face of MAX Factor and in 2006 became a published

author with the release of her book, “How to be Sexy”. She thereafter formed the famous dance

troupe, The Bombshells, and released a fitness DVD series, Carmen Electra’s Aerobic

Striptease.        In 2009, she appeared live on stage in the MGM Grand Vega’s Crazy Horse

Burlesque Show to sold-out audiences; in 2010 she stared in the film, Oy Vey, My Son is Gay,



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and in 2011 she starred in the film 2-Headed Shark Attack. She has also served as a guest judge

on Britain’s Got Talent, and made recurring guest appearances on CW’s hit show, 90210. In

2012, she released my return-to-music-single, “I Like it Loud,” featuring Grammy-nominated

producer Bill Hamel, which hit the number 25 spot on Billboard’s Dance Club Play Chart. She

is also the host of WEtv’s reality docu-series “Ex Isle”. In addition, Electra has earned an elite

status as a social media celebrity, with more than 775,000 followers on Instagram, over

3,000,000 followers on Facebook, and over 390,000 followers on Twitter. Electra Decl., ¶¶ 2-3.

Response: Admit.



         58.       Without Electra’s permission, Defendants used and altered her images, as

reflected in Exhibit O of the SAC, to advertise and promote the stripper lifestyle generally or the

full friction and full nudity lifestyle on the Defendants’ premises, and to represent, suggest or

imply that she works for or is somehow affiliated with Defendants, agreed to participate in the

advertising campaigns, endorsed the Corporate Defendants and/or the Strip Clubs, and

Defendants’ full friction and full nudity lifestyle activities, that she personally participated in the

stripper lifestyle generally or the full friction and full nudity lifestyle activities, and/or that she

may appear at the Strip Clubs. Electra Decl., ¶ 13.

Response. Deny. Defendants did not use or alter the image of any plaintiff; third party

defendants were responsible for selecting and posting the images at issue and for securing the

rights to do so. Defendants did not make any statements about any Plaintiff. None of the

Plaintiffs was identified by name in any ad for Defendants. (Brown Tr. 39:24-40:1, Barry

Lipsitz Decl. ¶¶ 6, 10, 12-15 Barry Albert Decl. ¶¶ 3, 10, Brown Aff. ¶¶ 13-15)




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         59.       All such representations, suggestions or implications are false. Electra Decl., ¶

13.

Response. Object to the extent the statement of fact is unclear and argumentative as to what is

implied, suggested or represented, Deny in part. Defendants did not author the content quoted;

IMC wrote the content posted on the Defendants’ websites. Plaintiffs are not identified by name.

(Brown Tr. 39:24-40:1, Barry Lipsitz Decl. ¶¶ 6, 13, 14, 10, 12, 15 Barry Albert Decl. ¶¶ 3, 10,

Brown Aff. ¶¶ 13-15)



         60.       Electra’s image and likeness as depicted in the photograph that appears in Exhibit

O to the SAC was originally shot during the promotional campaign for a film in which she

appeared called I Want Candy. To the best of Electra’s recollection, the image at Exhibit O was

first published in a British magazine called Loaded, in either 2006 or 2007. The magazine had

limited permission and authorization to use her image and likeness and under no circumstances

did they have authorization to use her image and likeness other than for the agreed-upon purpose.

Electra Decl., ¶ 14.

Response: Deny. Plaintiffs did not produce the contracts or other documents with the referenced

entities to substantiate the self-serving testimony about the supposed terms of the authorization

for use. The terms as described conflict with the standard contractual release language in the

industry. (Shapiro Decl. Exhs. 6, 11, 14, 17, 20)



         61.       Subsequent to the publication of that image in Loaded, Electra and her

representatives secured the rights to the image at Exhibit O, and it was used in the promotion of

what is referred to as the “Electra Pole”, which is a spinning/aerobic pole used in conjunction



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with Electra’s Aerobic Strip Tease series DVDs. Neither Electra nor her representative ever

gave permission to Defendants to use the Image at Exhibit O for the promotion of the Strip

Clubs. Electra Decl., ¶ 15.

Response: Admit except state that the Image was not posted by Defendants and Defendants

understood that the rights to all images used had been secured. (Barry Lipsitz Decl. ¶¶ 3, 6, 8,

12, 15; Barry Albert Decl. ¶¶ 10, 12; Brown Tr. 8:4, Brown Aff. ¶¶ 3, 16)



         62.       Defendants published this Image of Electra beside Defendant-generate copy

which reads: “Can you handle a triple threat?” See SAC, Ex. O.

Response: Admit except state that the Image was not published by Defendants and Defendants

did not generate the copy. (Barry Lipsitz Decl. ¶¶ 3, 4; Brown Tr. 8:4, Brown Aff. ¶ 3)



Defendants’ Strip Clubs and Advertising

         63.       Defendant 59 Murray owns and operates New York Dolls, located in Manhattan,

New York, where, inter alia, it engages in the business of selling alcohol in an atmosphere were

nude and/or semi-nude women entertain the business’ clientele, and in that capacity controls the

New York Dolls website and social media accounts, including the New York Dolls Twitter,

Instagram and Facebook accounts. See JVG Decl., Exhibit N, September 27, 2018 Deposition

of Barry Lipsitz, Sr. (“Lipsitz Sr. Tr.”), at 11:23-12:13.

Response: Admit in part and deny in part. 59 Murray owns and operates New York Dolls and

authorized the use of a website to promote its business, but state that IMC operated and

controlled the website. (Barry Lipsitz Decl. ¶¶ 3, 4, Brown Tr. 8:4, Brown Aff. ¶ 3, 4, Barry

Albert Decl. ¶¶ 3, 8, Miceli Decl. ¶ 5, M. Lipsitz Decl. ¶¶ 4, 6, 9, 10)



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         64.       As set forth above, 59 Murray has used, advertised, created, printed and

distributed the Images of Toth, Farrell, Young, Koren, Shake, Mayes, and Electra in its

advertising. See SAC, Exs. A, B, D, E, F, G, and O.

  Response: Deny. Defendants did not use or alter these images, IMC and Melange Media were

responsible for posting the images at issue. (Brown Tr. 39:24-40:1, Barry Lipsitz Decl. ¶¶ 6, 13,

14, 10, 12, 15 Barry Albert Decl. ¶¶ 3, 10, Brown Aff. ¶¶ 13-15)



         65.       Defendant AAM Holding owns and operates Private Eyes, located in Manhattan,

New York, where, inter alia, it engages in the business of selling alcohol in an atmosphere were

nude and/or semi-nude women entertain the business’ clientele, and in that capacity controls the

Private Eyes website and social media accounts, including the Private Eyes Twitter, Instagram

and Facebook accounts. See Lipsitz Sr. Tr. at 12:25-26:2.

Response: Admit in part and deny in part. AAM Holding owns and operates Private Eyes and

authorized the use of a website to promote its business, but state that IMC operated and

controlled the website. (Barry Lipsitz Decl. ¶¶ 3, 4, Brown Tr. 8:4, Brown Aff. ¶ 3, 4, Barry

Albert Decl. ¶¶ 3, 8, Miceli Decl. ¶ 5, M. Lipsitz Decl. ¶¶ 4, 6, 9, 10)



         66.       As set forth above, AAM Holding has used, advertised, created, printed and

distributed the Images of Hinton, Golden, Posada, and Weber in their advertising. See SAC, Exs.

I, L, M, N.




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Response: Deny. Defendants did not use or alter these images, IMC and Melange Media were

responsible for posting the images at issue. (Brown Tr. 39:24-40:1, Barry Lipsitz Decl. ¶¶ 6, 13,

14, 10, 12, 15 Barry Albert Decl. ¶¶ 3, 10, Brown Aff. ¶¶ 13-15)



         67.       Defendant Jay-Jay Cabaret owns and operates Flashdancers, located in

Manhattan, New York, where, inter alia, it engages in the business of selling alcohol in an

atmosphere were nude and/or semi-nude women entertain the business’ clientele, and in that

capacity controls the Flashdacners website and social media accounts, including the Flashdancers

Twitter, Instagram and Facebook accounts. See JVG Decl., Exhibit O, DEFENDANTS000007.

Response: Admit in part and deny in part. Jay-Jay Cabaret owns and operates Flashdancers and

authorized the use of a website to promote its business, but state that IMC operated and

controlled the website. (Barry Lipsitz Decl. ¶¶ 3, 4, Brown Tr. 8:4, Brown Aff. ¶ 3, 4, Barry

Albert Decl. ¶¶ 3, 8, Miceli Decl. ¶ 5, M. Lipsitz Decl. ¶¶ 4, 6, 9, 10)



         68.       Jay-Jay Cabaret has used, advertised, created, printed and distributed the Images

of Farrell and Hinton. See SAC, Exs. C and H.

Response: Deny. Defendants did not use or alter these images, IMC and Melange Media were

responsible for posting the images at issue. (Brown Tr. 39:24-40:1, Barry Lipsitz Decl. ¶¶ 6, 13,

14, 10, 12, 15 Barry Albert Decl. ¶¶ 3, 10, Brown Aff. ¶¶ 13-15)



         69.       The Defendants were at all times aware that they had no contract with any

Plaintiff, that no Plaintiff was ever affiliated with or employed by any Defendant or their Strip

Clubs, and that no Defendant or Strip Club had any release or license which would give



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Defendants the authority to publish Plaintiffs’ Image for commercial, or any other, purpose. See

Lipsitz Jr. Tr. at 109:16-20.

Response:          Deny. Defendants were not aware of the identities of the persons on their websites

and did not know the details about how those persons’ images came to be used, other than havin

been advised by IMC that the rights to the images posted had been secured. (Brown Tr. 39:24-

40:1, Barry Lipsitz Decl. ¶¶ 6, 13, 14, 10, 12, 15 Barry Albert Decl. ¶¶ 3, 10, Brown Aff. ¶¶ 13-

15)



         70.        Defendant Barry Lipsitz, Sr. (“Lipsitz Sr.”), who served as each of the Corporate

Defendants’ corporate representative, testified an individual named Paul Brown (“Brown”) had

the ability and authority to directly post advertisements on the Strip Clubs’ websites and social

media accounts. Lipsitz Sr. Tr. at 36:3-24.

Response: Admit.



         71.        Defendants have enlisted services of Paul Brown and his companies for

approximately twenty (20) years. Lipsitz Sr. Tr. at 43:13-44-10.

Response: Admit.



         72.        Lipsitz Sr. testified that one of Paul Brown’s companies was Internet

Management Corp. (“IMC”). Lipsitz Sr. Tr. at 55:15-21.

Response: Admit.



         73.        Brown has provided website and social media advertising services to Defendants



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pursuant to an oral agreement, or series of oral agreements, with Defendants over the course of

their relationship. Lipsitz Sr. Tr. at 47:19-48:10.

Response: Admit.



         74.       It was Lipsitz Sr.’s understanding that it was Brown and IMC which had the

authority and exclusive ability to publish advertisements on the Strip Clubs’ websites and social

media sites. Lipsitz Sr. Tr. at 55:22-56:8.

Response: Admit except for the role of Melange Media for social media. (Barry Albert Decl. ¶

3, Barry Lipsitz Decl. ¶ 6)



         75.       It was Lipsitz Sr.’s understanding that it was Brown and IMC which was

responsible for publishing the Images at issue in this lawsuit. Lipsitz Sr. Tr. at 55:15-21.

Response: Admit.



         76.       Lipsitz Sr. acknowledged that no Defendant ever negotiated or contracted with

any model to appear in any advertisements for the Strip Clubs’ social media sites. Lipsitz Sr. Tr.

at 70:24-71:23.

Response: Admit.



         77.       On or about July 15, 2016 Defendants filed a third-party complaint against

Brown’s company, IMC, and another entity, Melange Media Group, LLC (“Melange”), asserting

claims for negligence, breach of implied warranty, breach of implied covenant, indemnification

and contribution. See JVG Decl., Exhibit P, Defendants’ Third-Party Complaint, ¶¶ 21-44;



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Lipsitz Sr. Tr. at 37:20-38:2.

Response: Object. This is not a statement of material fact; it is a reference to procedural events

in this litigation.



         78.       Neither IMC nor Melange answered the Third-Party Complaint or appeared, and

on or about September 12, 2016 Defendants’ requested that the Clerk of Court enter a default

against both entities. JVG Decl. Exhibit Q, Defendants’ Request for Entry of Default.

Response: Object. This is not a statement of evidentiary fact; it is a reference to procedural

events in the litigation.



         79.       Lipsitz Sr.’s understanding was the Image of Carmen Electra at issue in this

lawsuit was published by Melange, but that all other Images came from IMC. Lipsitz Sr. Tr. at

79:14-80:25.

Response: Admit.



         80.       Though Lipsitz Sr. believed that IMC and an entity known as Forplay Lingerie

had an agreement permitting IMC to use Forplay images, he never saw such agreement. Lipsitz

Sr. Tr. at 74:7-77:11.

Response: Admit.



         81.       Lipsitz Sr. testified that Brown provided the copy beside or within all of the

advertisements at issue in this litigation. Lipsitz Sr. Tr. at 86:4-24.

Response: Admit.



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         82.       Lipsitz Sr., on behalf of and as the representative of the Corporate Defendants,

testified that his son, Barry Lipsitz, Jr., a/k/a Barry Albert (“Lipsitz Jr.”), would have more

information concerning the Corporate Defendants and the Strip Clubs’ website and social media

advertising. Lipsitz Sr. Tr. at 90:14-21.

Response: Admit.



         83.       Although Lipsitz, Jr. testified that Brown “always told us” that he had the right to

use certain Images, he could not recall any specific conversations wherein Brown informed

Defendants of that. Lipsitz Jr. Tr. at 22:18-25:21. Defendants were aware, however, that it was

important that they have the rights to images that they were going to use in advertising:

                          Q:      So in light of Mr. Brown’s representations to you, you understood
                                  that it was important that either the clubs or some third party
                                  actually had rights to the imagery?

                          A:      Absolutely.

Lipsitz Jr. Tr. 21:16-20.        See also, Id., 22:18-23:8 (wherein Lipsitz, Jr. confirms that he

understood “that it was important that either the clubs or the third party had the rights to certain

imagery that was posted on the club’s website….”).

Response: Admit.



         84.       Lipsitz Jr. testified that he occasionally provided copy for certain of the

advertisements at issue in this litigation. Lipsitz Jr. Tr. at 43:13 – 45:22.

Response: Deny. The referenced transcript excerpts reflect that Lipsitz had input on some

occasions by virtue of advising as to the purpose for the event to be described, but he did not



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testify that he wrote any of the copy at issue.



         85.       Lipsitz Jr. confirmed that Brown and his companies “had full administrative

capabilities; they posted everything,” and also testified that Brown would usually just post

advertisements without getting prior approval from Defendants, because, having relied on him

for approximately 20 years, Defendants’ trusted him. Lipsitz Jr. Tr. at 46:24-47:19.

Response: Admit.



         86.       As Lipsitz Jr. specifically testified:

                   Q:      Was it a common practice for Mr. Millman or anyone at Paul Brown’s
                           companies to send you imagery for approval?

                   A:      Usually they would just post without saying anything. Usually if there is
                           some sort of party coming up, they would just put the words, verbiage
                           together and put it on the site. I could have approved it but I really don’t
                           know. Usually it was up to them.

Lipsitz Jr. Tr. at 55:18-56:2.

Response: Admit.



         87.       Lipsitz Jr. recalled no occasion in which he instructed Brown or his company to

remove or change an image or advertisement posted on one of Defendants’ websites. Lipsitz Jr.

Tr. at 92:3-13.

Response: Admit. However, Defendants removed all images at issue upon being apprised of

Plaintiffs’ claims. (Barry Lipsitz Decl. ¶ 16).



         88.       Defendants were on a “faith basis” with Brown, and thus never asked him for any



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written confirmation that he or his company at the rights to use imagery posted on Defendants’

websites. Brown was “a guy that [Defendants] trusted for two decades.” Lipsitz Jr. Tr. at 95:24-

96:19.

Response: Admit.



         89.       Defendants never asked Brown for any evidence that he received any images at

issue in this litigation from Forplay, or what if anything he paid Forplay for the alleged right to

use any images. Lipsitz Jr. Tr. at 108:23-109:15; 115:11-25.

Response: Admit.



         90.       Brown was unable to locate any release he had from Forplay granting him or his

companies the right to use any Forplay images. JVG Decl., Exhibit R, Transcript of December

15, 2017 Deposition of Paul Brown (“Brown Tr.”) at 14:4-18:2.

Response: Admit.



         91.       Though Brown believed that all images at issue in this lawsuit, except that of

Carmen Electra, came from IMC, he testified that he “couldn’t put a lot of weight in that though

because some of these images I don’t recognize. I would have no idea.” Brown Tr. at 26:8-10.

Response: Admit.



As Intended, Defendants’ Misuse Of Plaintiffs’ Images Created Confusion

         92.       By using each Plaintiff’s image in one or more advertisements for the Strip Clubs,

Defendants confused and deceived consumers and potential consumers into believing that



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Plaintiffs knowingly permitted and consented to having their images used, were likely to appear

as strippers at one of the Strip Clubs, and/or agreed to endorse Defendants’ business. See JVG

Decl., Exhibit S, May 29, 2018 Declaration of Martin Buncher (“Buncher Decl.”), and Exhibit A

thereto, Expert Report of Martin Buncher (“Buncher Report”), at Section 5, pp. 12-14.

Response: Objection and deny. It is inappropriate to cite the conclusions of Plaintiffs’ expert as

if they were statements of fact. Moreover, the survey indicates the opposite. To the open-ended

question that asked what their thoughts were when viewing three of the advertisement at issue,

some respondents indicated they knew the women had no affiliation with the Clubs. (Klein Aff.

¶¶ 3-27). Defendants dispute that Dr. Buncher is competent and are moving to preclude his

testimony.



          93.      So pervasive was the confusion and deception created by Defendants’

advertisements that, according to a consumer survey conducted by Plaintiffs’ marketing survey

expert:

                a. 96% of the survey respondents thought the Images of Plaintiffs were important in
                   attracting attention to the advertising;

                b. 93% of the survey respondents thought the models played a noteworthy role in
                   motivating people to learn about the Strip Clubs, with 80% believing that
                   Plaintiffs played a “major role,” and 13% believing they played a minor role;

                c. 92% of the survey respondents felt Plaintiffs had agreed to promote the Strip
                   Clubs;

                d. 96% of the survey believed that Plaintiffs had agreed to be in the advertising;

                e. 87% of the survey felt the Plaintiffs represent the lifestyle to which the Club is
                   oriented;

                f. 86% felt the Plaintiffs might participate in some of the events described in the
                   advertising;



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               g. 95% percent of the survey thought it was likely ”that these models were used to
                  make them think they represented the kind of women they would expect to see at
                  the clubs, including 75% who felt it was “Extremely likely” and 20% who felt it
                  was “Somewhat likely”;

               h. 93% percent of the survey indicated the ads with the models would be more likely
                  to have interested them to consider the possibility of patronizing the clubs than
                  having the same ads shown without the models but telling them about the events
                  at the club prior to any attendance.

Buncher Report, Section 5, at 12-14. As detailed therein, and at Exhibit 5 thereto, the survey

respondents were male residents of the New York metropolitan area, over the age of 21, who had

patronized a strip club in the past two (2) years. Buncher Report, Exhibit 5.

Response: Objection and deny. It is inappropriate to cite the conclusions of Plaintiffs’ expert and

the survey conducted as if they were statements of fact. See also Klein Aff. ¶¶ 3-27. Dr.

Buncher’s conclusions and survey are incompetent as Defendants’ motions are demonstrating.



         94.       Though Defendants had ample opportunity to do so during discovery, they

declined to offer any competing marketing survey as contrary evidence, or to rebut the findings

set forth in the Buncher Report.

Response: Object. This is not an appropriate statement as to a material evidentiary fact.

Moreover, Defendants proffered the expert testimony of Robert Klein in rebuttal. See the Klein

Aff. ¶¶ 3-27.



         95.       Though Defendants offered a so-called “expert” to attack Buncher’s survey

methodology, Defendants proffered no evidence, whatsoever, which would establish that the

level of deception and confusion caused by Defendants’ publication of Plaintiffs’ images was

lower than determined by Buncher and set forth in the Buncher Report. See generally, Exhibit T,



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to JVG Decl., Rebuttal Report of Robert Klein (“Klein Report”).

Response: Object. This is legal argument that does not belong in this statement.



Damages

         96.       Because no Strip Club had the authority or permission to use or alter any

Plaintiff’s Image for advertising, or any other, purpose, and each Plaintiff is entitled to

compensation at least equivalent to the fair market value of their Imagery, Plaintiffs’ hired a

valuation expert, Stephen Chamberlin, to retrospectively estimate the fair market value of use of

each Plaintiffs’ images, and issue a report. See JVG Decl., Exhibit U, May 30, 2018 Declaration

of Stephen Chamberlin (“Chamberlin Decl.”), and Exhibit A thereto, the Expert Report of

Stephen Chamberlin (“Chamberlin Report”).

Response: Object. The expert opinions are not material evidentiary facts and this does not

belong in this statement. That being said, Defendants do not dispute that Plaintiffs use Mr.

Chamberlin as an expert, but as their Daubert motion reflects they dispute that he is qualified

and that his opinions are competent.



         97.       As set forth in the Chamberlin Report, the fair market value of Defendants’ many

uses of Plaintiffs’ Images is at least $1,420,000. See Chamberlin Report, ¶ 6.

Response: Object for the same reasons as set forth above. See also the Hunter Aff.



         98.       Based on each Plaintiff’s respective experience in the modeling and entertainment

industries, and extensive experience participating in negotiations over contracts, each Plaintiff

has reviewed and agreed that the fair market valuation range proffered by Plaintiffs’ expert



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aligns with that they would each value the use of their own images in light of the theft by

Defendants. See Toth Decl., ¶¶ 18-19; Farrell Decl., ¶¶ 18-19, ; Hinton Decl., ¶¶ 18-19; Golden

Decl., ¶¶ 18-19; Posada Decl., ¶¶ 18-19; Weber Decl., ¶¶ 17-18; Young Decl., ¶¶ 18-19;

Koren Decl., ¶¶ 17-18; Shake Decl., ¶¶ 18-19; Mayes Decl., ¶¶ 17-18; Electra Decl., ¶¶ 19-20.

Response: Deny. Plaintiffs’ self-serving conclusions about the value of their images as testified

to by Mr. Chamberlin, whose opinion is incompetent, has no factual basis. The valuation is at

odds with the evidence about Plaintiffs’ earnings. (Hunter Aff. ¶¶ 3- 9, 12-18)



         99.       Defendants do not challenge the valuation methodology set forth by Chamberlin,

but rather have engaged a modeling industry veteran who has agreed with and endorsed

Chamberlin’s methodology. See JVG Decl., Exhibit V, Excerpts from the Transcript of the

February 6, 2018 Deposition of Joseph Hunter (“Hunter Tr.”), at 189:21-190:5.

Response: Object. This is legal argument that does not belong in this statement. See also the

Hunter Aff.



         100.      Hunter is a former partner at Ford Models and Karin Models. Hunter Tr. at

15:10-24.

Response: Admit.



         101.      Hunter agreed with Chamberlin’s statement in the Chamberlin Report that if a

model appears in a strip club advertisement, it could potentially serve as a deterrent for

commercial brands to affiliate with her. Hunter Tr. at 184:6-20.

Response: Deny. Plaintiffs did not lose employment opportunities by appearing in the



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advertisements at issue. Plaintiffs pose for photographs in which they are in scantily clad

clothing in provocative poses. (See Shapiro Decl. Exh. __(Hunter Report) and Hunter Aff.)



         102.      He also agreed with Chamberlin’s statement in the Chamberlin Report that a

model having her image used in a way that would appear to endorse a strip club would “damage,

harm and devalue” the model’s career. Hunter Tr. at 184:21-9.

Response: Disagree. Plaintiffs did not lose employment opportunities by appearing in the

advertisements at issue. Plaintiffs pose for photographs in which they are in scantily clad

clothing in provocative poses. (See Hunter Aff. and Report)



         103.      Hunter also testified as follows, when read a portion of the Chamberlin Report:

                   Q:     Okay. Thank you. [Reading from Chamberlin’s Report]: “Experientially,
                          I recall no instance in my more than 26 years working as an agent where I
                          or any other legitimate agent or agency would have booked a model of the
                          caliber of the models [i.e., the Plaintiffs] for this type of client.” Do you
                          see that?

                   A:     Yes.

                   Q:     Okay. Do you agree with that statement?

                   A:     I agree.

Hunter Tr. at 185:10-21.

Response: Admit.


         104.      Hunter also agreed that all of the factors Chamberlin stated a reputable agent

would rely on when negotiating a modeling contract, and which Chamberlin himself relied on in

formulating valuations in the Chamberlin Report, were accurate. Hunter Tr. at 186:3-18.

Response: Admit.

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         105.      Hunter also agreed that all of the different and separate usages that Chamberlin

set forth in the Chamberlin Report were in fact the different usages a modeling agent would

consider when negotiating a contract. Hunter Tr. at 186:19-187:12.

Response: Admit.



         106.      Hunter has never been asked to provide his opinion in a situation, as here, in

which a model is alleging her image was misappropriated, and there was no release or contract to

rely on:

                   Q:      You’ve been asked to give an expert opinion in cases in which a model
                           had a contract with a company for, let’s say, a year term, and then the
                           company kept using it for longer than that term, fair?

                   A:     Yes.

                   Q:     And you’ve been asked to opine on what the value of the additional usage
                          is, correct?

                   A:      Correct.

                   Q:      In this case the allegations are that Defendants stole these images and
                           published them. I’m not asking you your opinion about that. Have you
                           ever been asked to give an opinion in that situation, when there was no
                           initial contract or release, the image was misappropriated, and now you
                           have to come up with a number of how much the model would have
                           charged in the first instance?

                   A:      No, I believe most of mine were expired, done with a release, and used
                           without permission.

                   Q:      So you understand there’s a difference between those cases and the case
                           that Plaintiffs’ allege here, correct?

                   A:     Of course.

Hunter Tr. at 187:15-188:19.



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Response: Deny. Hunter testified that “believes” what he said to be true.

         107.      Hunter endorsed and agreed with the valuation methodology Chamberlin applied

in retrospectively valuing Plaintiffs’ Images:

                   Q:     With that said, my only question is: The methodology that Mr.
                          Chamberlin used here, and with the understanding that you’ve never
                          engaged in such a calculation, do you have any issues with the steps he
                          took to try to value the image?

                   A:     Well, I believe he took the right steps.

Hunter Tr. at 189:21-190.

Response: Admit.

Dated:        New York, New York
              June 29, 2018

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